                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 GLOBAL FORCE ENTERTAINMENT,                     )
 INC., and JEFFREY JARRETT,                      )
                                                 )
        Plaintiffs,                              )
                                                 )
 v.                                              )    NO. 3:18-cv-00749
                                                 )
 ANTHEM WRESTLING                                )
 EXHIBITIONS, LLC,                               )
                                                 )
        Defendants.                              )

                                            ORDER

       By Wednesday, June 17, 2020 the parties shall file amended witness lists that includes a

one to two sentence summary of the anticipated testimony for each witness. By the same date,

the parties shall file amended exhibit lists in 14-point size Times New Roman font.

       IT IS SO ORDERED.


                                                     ____________________________________
                                                     WAVERLY D. CRENSHAW, JR.
                                                     CHIEF UNITED STATES DISTRICT JUDGE




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